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                  UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA
                         TAMPA DIVISION

UNITED STATES OF AMERICA

vs.                                          Case No: 8:21-cr-218-CEH-AAS

WILLIAM WALKER
                                        /

               ORDER OF DETENTION PENDING TRIAL

      Defendant William Walker requests to reopen the matter of detention

and for the court to release him pending trial. (Doc. 109). Mr. Walker initially

appeared before Judge Monte Richardson in the Jacksonville Division on July

15 and 20, 2021. (Docs. 35 & 83). At the July 20, 2021 hearing, Judge

Richardson detained Mr. Walker after Mr. Walker reserved his right to contest

the government’s motion for detention so that he could address detention

instead in the Tampa Division. (Docs. 83 & 95).

      On September 9, 2021, the undersigned held a hearing on Mr. Walker’s

motion. (Doc. 216). At that hearing, the government stood by its prior request

for detention on the ground that there is a serious risk that Mr. Walker will

obstruct or attempt to obstruct justice, or threaten, injure, or intimidate, or

attempt to threaten, injure, or intimidate, a prospective witness (18 U.S.C. §

3142(f)(2)(B)). Based on the government’s proffer as well as the information

otherwise before the court, detention is warranted.
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      As an initial matter, there is probable cause to believe Mr. Walker has

committed the offense charged against him in the Indictment as the return of

the Indictment alone is sufficient to establish probable cause. Specifically,

Count Four of the Indictment charges Mr. Walker with unlawfully and

knowingly conspiring to commit assault with a dangerous weapon against and

assault resulting in serious bodily injury to T.B. in connection with Mr.

Walker’s position in Unforgiven and thus in aid of racketeering activity, in

violation of 18 U.S.C. § 1959(a)(6)

      I find that the credible information proffered by the government at the

hearing establishes, by a preponderance of the evidence, that no condition or

combination of conditions of release will reasonably assure the appearance of

the Mr. Walker in court as required and, by clear and convincing evidence, that

no condition or combination of conditions of release will reasonably assure the

safety of any other person and the community, in that: (1) the weight of the

evidence against Mr. Walker is strong and includes evidence that Mr. Walker

volunteered that he would be the person to commit the assault; (2) the

government also has video evidence of Mr. Walker ordering an escalation of

violence by Unforgiven; (3) Defendant has a criminal history that includes

violations of probation and failures to appear as well as prior crimes of violence



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and drug possession and trafficking charges; (4) Mr. Walker has a leadership

role in Unforgiven (an organization which has a history of threatening and

injuring witnesses), including roles as Treasurer and as the person in charge

of particular geographical region; (5) the assault charged in the Indictment did

not occur only because the potential victim contacted law enforcement; (6) the

government’s evidence demonstrates Mr. Walker has a propensity for violent

acts in connection with his membership in Unforgiven; (7) Mr. Walker and his

wife previously retaliated with violence against other members of Unforgiven

in an effort to protect the organization; and (8) various witnesses and victims

have indicated to the government that they have been threatened and are in

fear should Mr. Walker be released. Mr. Walker’s offer of a co-signed bond and

electronic monitoring is insufficient to assure his appearance in court and the

safety of the community.

It is therefore,

             ORDERED:

             (1)   Mr. Walker’s request to reopen the detention hearing is

                   GRANTED;

             (2)   However, Mr. Walker’s request for (Doc. 109) is DENIED;

                   and



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            (2)   Defendant shall continue to be committed to the custody of

                  the Attorney General or his designated representative for

                  confinement in a corrections facility separate, to the extent

                  practicable, from persons awaiting or serving sentences or

                  being held in custody pending appeal. Defendant shall be

                  afforded a reasonable opportunity for private consultation

                  with defense counsel.    On order of a court of the United

                  States or on request of an attorney for the government, the

                  person in charge of the corrections facility shall deliver the

                  defendant to the United States Marshal for the purpose of

                  an appearance in connection with a court proceeding.

            ORDERED at Tampa, Florida this 10th day of September, 2021.




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